Case 1:20-cr-00152-PAB Document 1236 Filed 03/31/22 USDC Colorado Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Criminal Action No. 20-cr-00152-PAB

 UNITED STATES OF AMERICA,

        Plaintiff,
 v.

 1. JAYSON JEFFREY PENN,
 2. MIKELL REEVE FRIES,
 3. SCOTT JAMES BRADY,
 4. ROGER BORN AUSTIN,
 5. TIMOTHY R. MULRENIN,
 6. WILLIAM VINCENT KANTOLA,
 7. JIMMIE LEE LITTLE,
 8. WILLIAM WADE LOVETTE,
 9. GARY BRIAN ROBERTS,
 10. RICKIE PATTERSON BLAKE,

        Defendants.


       UNITED STATES’ UNOPPOSED MOTION TO DISMISS COUNT 1 OF THE
      SUPERSEDING INDICTMENT WITH PREJUDICE AS TO FIVE DEFENDANTS


        The government respectfully moves, pursuant to Rule 48(a) of the Federal Rules

 of Criminal Procedure, to dismiss Count 1 of the Superseding Indictment, ECF No. 101,

 with prejudice as to five defendants. In support of the Motion, the government states as

 follows:

        1.      On October 6, 2020, a grand jury in the District of Colorado returned a

 superseding indictment charging the above-captioned defendants with one count of

 conspiracy to restrain trade in violation of 15 U.S.C. § 1. ECF No. 101.
Case 1:20-cr-00152-PAB Document 1236 Filed 03/31/22 USDC Colorado Page 2 of 3




        2.       There have been two trials in this matter, both of which ended in mistrials

 after the respective juries were unable to reach a unanimous verdict as to any of the ten

 defendants.

        3.       In an effort to streamline the case and conserve the resources of the

 Court, the parties, and the public, the government hereby moves to dismiss all charges

 against defendants Timothy Mulrenin, William Kantola, Jimmie Little, Brian Roberts, and

 Rickie Blake.

        4.       Dismissal here is not contrary to manifest public interest. The government

 brought charges against all ten defendants to promote judicial economy. Dismissal

 without prejudice will allow the government to properly enforce federal law by

 proceeding against the remaining five defendants and to promote the fair administration

 of criminal justice. See United States v. Carrigan, 778 F.2d 1454, 1463 (10th Cir.

 1985).1

        5.       The government has conferred with counsel for defendants Mulrenin,

 Kantola, Little, Roberts, and Blake, none of whom object to the filing of this motion.



        Dated: March 31, 2022               Respectfully submitted,

                                            /s/ Michael T. Koenig
                                            HEATHER CALL
                                            MICHAEL KOENIG
                                            CAROLYN SWEENEY
                                            PAUL TORZILLI

 1
  The government plans to contact the Court separately and promptly to suggest
 possible hearing dates regarding the appearance of Jonathan Kanter, Assistant
 Attorney General of the United States Department of Justice’s Antitrust Division, to
 discuss proceeding with re-trial of defendants Penn, Fries, Brady, Austin, and Lovette.
                                               2
Case 1:20-cr-00152-PAB Document 1236 Filed 03/31/22 USDC Colorado Page 3 of 3




                                   Antitrust Division
                                   U.S. Department of Justice
                                   450 Fifth Street NW, Suite 11048
                                   Washington D.C. 20530
                                   Tel: (202) 616-2165
                                   michael.koenig@usdoj.gov
                                   Attorneys for the United States




                                     3
